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                        Exhibit 2
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Ana Correa

From:                Sawyers, Andrew <sawyers.andrew@epa.gov>
Sent:                Wednesday, January 20, 2021 8:46 PM
To:                  Ana Correa
Subject:             Read: [Email 1 of 5] Request for Expedited Action: Ctr. for Biological Diversity, et al., v. Wheeler, No.
                     1:21-cv-119-RDM (D.D.C. Jan. 14, 2021)
Attachments:         ATT00001


Your message

 To: Sawyers, Andrew
 Subject: [Email 1 of 5] Request for Expedited Action: Ctr. for Biological Diversity, et al., v. Wheeler, No. 1:21‐cv‐119‐
RDM (D.D.C. Jan. 14, 2021)
 Sent: Wednesday, January 20, 2021 8:35:01 PM (UTC‐05:00) Eastern Time (US & Canada)

was read on Wednesday, January 20, 2021 8:46:25 PM (UTC‐05:00) Eastern Time (US & Canada).




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                 Case 1:21-cv-00119-RDM Document 87-2 Filed 06/30/22 Page 3 of 4


Ana Correa

From:                Wall, Tom <wall.tom@epa.gov>
Sent:                Wednesday, January 20, 2021 8:52 PM
To:                  Ana Correa
Subject:             Read: [Email 1 of 5] Request for Expedited Action: Ctr. for Biological Diversity, et al., v. Wheeler, No.
                     1:21-cv-119-RDM (D.D.C. Jan. 14, 2021)
Attachments:         ATT00001


Your message

 To: Wall, Tom
 Subject: [Email 1 of 5] Request for Expedited Action: Ctr. for Biological Diversity, et al., v. Wheeler, No. 1:21‐cv‐119‐
RDM (D.D.C. Jan. 14, 2021)
 Sent: Wednesday, January 20, 2021 8:35:01 PM (UTC‐05:00) Eastern Time (US & Canada)

was read on Wednesday, January 20, 2021 8:51:41 PM (UTC‐05:00) Eastern Time (US & Canada).




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Ana Correa

From:                Payne, James (Jim) <payne.james@epa.gov>
Sent:                Wednesday, January 20, 2021 9:13 PM
To:                  Ana Correa
Subject:             Read: [Email 1 of 5] Request for Expedited Action: Ctr. for Biological Diversity, et al., v. Wheeler, No.
                     1:21-cv-119-RDM (D.D.C. Jan. 14, 2021)
Attachments:         ATT00001


Your message

 To: Payne, James (Jim)
 Subject: [Email 1 of 5] Request for Expedited Action: Ctr. for Biological Diversity, et al., v. Wheeler, No. 1:21‐cv‐119‐
RDM (D.D.C. Jan. 14, 2021)
 Sent: Wednesday, January 20, 2021 7:35:01 PM (UTC‐06:00) Central Time (US & Canada)

was read on Wednesday, January 20, 2021 8:13:25 PM (UTC‐06:00) Central Time (US & Canada).




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